    Case 23-01093-MBK           Doc 39    Filed 07/19/23 Entered 07/19/23 14:18:51           Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

                                                            Adv. No.:                    23-1093
In Re:                                                      Case No.:                   22-13530
                                                                                 ______________________
  Lisa M. Jones-Mason                                                               8/17/23 at 2:00 pm
                                                            Hearing Date:        ______________________
  vs.
  Willingboro Township, et al.                              Chapter:                       13
                                                                                 ______________________

                                                            Chief Judge:            Michael B. Kaplan
                                                                                 ______________________


                                         NOTICE OF HEARING

         You are hereby notified of a hearing before Chief Judge _________________________________,
                                                                           Michael B. Kaplan
         United States Bankruptcy Judge.

         Reason for Hearing:          PROOF HEARING
                                      ______________________________________________________

                                      ______________________________________________________


         Location of Hearing:                         8
                                      Courtroom No. _____
                                      United State Bankruptcy Court
                                      __________________________________________
                                      402 East State Street
                                      __________________________________________
                                      Trenton, New Jersey 08608
                                      __________________________________________


         Date and Time:                August 17, 2023 at 2:00 pm
                                      __________________________________________, or as
                                      soon thereafter as counsel may be heard.


         COURT APPEARANCES:            ARE REQUIRED  ARE NOT REQUIRED

       July 19, 2023
DATE: _________________________                      JEANNE A. NAUGHTON, Clerk

                                                         Wendy Quiles
                                                     By: _______________________________
                                                           Deputy Clerk



                                      CERTIFICATE OF MAILING
                                              July 19
        I HEREBY CERTIFY that on _______________________,   23
                                                          20______ this notice was served on the
following: Plaintiff, Defendant, Defendant's Attorney,



                                                   JEANNE A. NAUGHTON, Clerk

                                                       Wendy Quiles
                                                   By: ______________________________
                                                          Deputy Clerk

                                                                                                      re v . 1 / 4 / 1 7
